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UNITED STATES DISTRICT COURT fng pin l n
MIDDLE DISTRICT OF FLORIDA [J 6 P"l iii 32
ORLANDO DIVISION ' ' 1 -

CASE No.: Q .`15»<;\/ -?.L»H - DRL `-3‘3: _CWL '_
MICHAEL o HUIRAS,
Plaimiff,
VS.
WELLS FARoo BANK, N.A.,

Defendant.
/

 

NOTICE OF REMOVAL
Defendant Wells Fargo Bank, N.A. (“Defendant”), by counsel and pursuant to 28
U.S.C. §§ 1332, 1441 and 1446, removes the above-captioned civil action currently pending
in the Circuit Court of the Eighteenth Judicial Circuit in and for Brevard County, F|orida, to
the United States District Court for the Middle District ofFlorida, Orlando Division. In support

of this Notice of Removal, Defendant states as follows:
I. BACKGROUND AND PROCEI)URAL POSTURE

I. On January 9, 2018, Plaintil`fI\/Iichael D. Huiras (“Plaintiff”) filed a Cornplaint
against Defendant, in the Circuit Court of the Eighteenth Judicial Circuit in and for Brevard
County, Florida, in a case Styled as Michaef D. Huiras v. Wells Fargo Bank, N.A., No. 05-

2018-CA~011170 (“State Court Action”).

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2. On or about January 18, 2018, Defendant was served with a copy of the
Summons and Complaint, which is the initial pleading setting forth the claims for relief upon
which this removal is based.

3. Removal of this Complaint is timely under 28 U.S.C. § l446(b) because this
Notice of Removal was filed within thirty days after Defendant was served with the initial
pleading on January 18, 2018.

4. The United States District Court for the Middle District of Florida, Orlando
Division, is the district and division within which this action is pending under 28 U.S.C.
§§ 1441 (a), l446(a), and is, therefore, the proper venue for this action. See also M.D. Fla. L.R.
1.02.

5. Pursuant to 28 U.S.C. § l446(a), true and correct copies of all process,
pleadings, and orders served upon Defendant in the State Court Action are attached hereto as
Composite Exhibit A.

6. In accordance with 28 U.S.C. § 1446(d), Defendant has contemporaneously
filed a Notice of Removal with the Circuit Court of the Eighteenth Judicial Circuit in and for
Brevard County, Florida. A copy of Defendant’s Notice to State Court of Removal to Federal
Court is attached hereto as Exhibit B.

7. In accordance with 28 U.S.C. § 1446(d), Defendant has also given written
notice to Plaintiff by contemporaneously serving this Notice of Removal on counsel for
Plaintiff.

8. In filing this Notice of Removal, Defendant does not waive and specifically

reserves any and'all defenses, exceptions, rights, and motions, including defenses concerning

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improper or lack of service. No statement or omission in this Notice shall be deemed an
admission of any allegations or damages sought in the Complaint.

9. As set forth below, this case is properly removed to this Court based on federal
question jurisdiction.

II. REMOVAL IS PROPER BASED ON FEDERAL QUESTION'JURISDICTION
lO. Removal is proper under 28 U.S.C. § 1441(a), because this United States
District Court has original jurisdiction over this case pursuant to 28 U.S.C. §§ 1331. Section
1331 provides that the District Courts shall have “0riginal jurisdiction of all civil actions
arising under the Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331.

11. The two-count Complaint seeks recovery under the Telephone Consumer
Protection Act, 47 U.S.C. § 227 (“TCPA”), and the Florida Consumer Collection Practices
Act, § 559.55 (“FCCPA”). See generally, Ex. A, Complaint.

12. The Eleventh Circuit has made clear that a federal court has federal question
jurisdiction over a TCPA claim pursuant to 28 U.S.C. § 1331. Osorio v. State Farm Bank,
F.S.B., 746 F.3d 1242, 1249 (1 lth Cir. 2014); Mz'ms v. Arrow Fin. Servs. LLC, 132 S. Ct. 740,
753 (2012).

13. This Court may properly exercise supplemental jurisdiction to hear the state law
FCCPA claim because it forms part of the same case or controversy under Article III of the
United States Constitution. 28 U.S.C. §§ 1331, 1367, and 1441 (a) and (c); see also Reed v.
Heil Co., 206 F.3d 1055, 1058 (1 lth Cir. 2000) (“[F]ederal courts can exercise supplemental
jurisdiction over state law claims that form part of the same case or controversy as the claim

with original federal jurisdiction.”).

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WHEREFORE, Defendant Wells Fargo Bank, N.A. hereby removes the above-
captioned action now pending in the Circuit Court of the Eighteenth Judicial Circuit in and for
Brevard County, Florida, to the United States District Court for the Middle District of Florida,
Orlando Division, and respectfully requests that this District Court assume exclusive
jurisdiction of this action, entering such other and further orders as may be necessary to
accomplish the requested removal and promote the ends of justice.

Dated: February 15, 2018 Respectfully Submitted,

By: /s/ Monica L. Haddad Forbes
Sara F. Holladay-Tobias
Florida Bar No. 0026225
Emily Y. Rottmann
Florida Bar No. 0093154
Monica L. Haddad Forbes
Florida Bar No. 0099426
McGUIREWOODS LLP
50 N. Laura Street, Suite 3300
Jacksonville, Florida 32202
(904) 798-3200 / (904) 798-3207 (fax)
stobias@mcguirewoods.com

erottmann@mcguirewoods.com

mforbes@mcguirewoods.com

Hservice@mcguirewoods.com

Attorneys and Trial Counselfor
Defendant, Wells Fargo Bank, N.A.

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a copy of the foregoing has been furnished by Email on
February 15, 2018, to the following:

Richard Shuster, Esq.

Shuster & Saben, LLC

1413 South Patrick Dr., Suite 7

Satellite Beach, FL 32937
richshuster@gmail.com

Counsel for Plaintijf Michael D. Huiras

/s/ Monica L. Haddad Forbes
Attomey

